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                                                                  APPEAL, NDISPO, REOPEN, TERMED
                                  U.S. District Court
                            District of Colorado (Denver)
                 CIVIL DOCKET FOR CASE #: 1:09−cv−00799−SJJ −KLM

   Granite Southlands Town Center, LLC v. Alberta Town Center,   Date Filed: 04/08/2009
   LLC et al                                                     Date Terminated: 09/13/2011
   Assigned to: Judge Sterling Johnson, Jr                       Jury Demand: Both
   Referred to: Magistrate Judge Kristen L. Mix                  Nature of Suit: 190 Contract: Other
   Case in other court: USCA, 10−01453                           Jurisdiction: Diversity
   Cause: 28:1332 Diversity−Breach of Contract
   Plaintiff
   Granite Southlands Town Center, LLC           represented by Osborne J. Dykes , III
                                                                Fulbright &Jaworski, LLP−Denver
                                                                370 17th Street
                                                                Republic Plaza
                                                                #2150
                                                                Denver, CO 80202−5638
                                                                303−801−2700
                                                                Fax: 303−801−2777
                                                                Email: jdykes@fulbright.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                 Paul D. Trahan
                                                                 Fulbright &Jaworski, LLP−Austin
                                                                 98 San Jacinto Boulevard
                                                                 #1100
                                                                 Austin, TX 78701−4255
                                                                 512−474−5201
                                                                 Fax: 512−536−4598
                                                                 Email: ptrahan@fulbright.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Benjamin M. Vetter
                                                                 Fulbright &Jaworski, LLP−Denver
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                                                                 Denver, CO 80202−5638
                                                                 303−801−2720
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   V.
   Defendant
   Alberta Town Center, LLC                      represented by Elizabeth Jeanelia Hyatt
                                                                Starrs Mihm, LLP
                                                                707 17th Street
                                                                #2600
                                                                Denver, CO 80202
                                                                303−592−5900
                                                                Fax: 303−592−5910
                                                                Email: ehyatt@starrslaw.com
                                                                TERMINATED: 10/21/2009

                                                                 Elizabeth A. Starrs
                                                                 Starrs Mihm, LLP
                                                                 707 17th Street
Case No. 1:09-cv-00799-SJJ-KLM Document 215-1 filed 10/03/11 USDC Colorado pg 2
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                                                     #2600
                                                     Denver, CO 80202
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                                                     Email: estarrs@starrslaw.com
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                                                     Steven Robert Kabler
                                                     Jones &Keller, PC−Denver
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                                                     Denver, CO 80202
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                                                     ATTORNEY TO BE NOTICED

                                                     Stuart N. Bennett
                                                     Jones &Keller, PC−Denver
                                                     1999 Broadway
                                                     #3150
                                                     Denver, CO 80202
                                                     303−573−1600
                                                     Fax: 303−573−8133
                                                     Email: sbennett@joneskeller.com
                                                     ATTORNEY TO BE NOTICED

   Defendant
   Land Title Guarantee Company        represented by Kimberly A. Bruetsch
                                                      Robinson, Waters &O'Dorisio, P.C.
                                                      1099 18th Street
                                                      Granite Tower
                                                      #2600
                                                      Denver, CO 80202−1937
                                                      303−297−2600
                                                      Fax: 303−297−2750
                                                      Email: kbruetsch@rwolaw.com
                                                      ATTORNEY TO BE NOTICED

   Defendant
   Donald G. Provost                   represented by Allan Brent Diamond
   TERMINATED: 12/29/2009                             Diamond McCarthy, LLP−Houston
                                                      909 Fannin Street
                                                      #1500
                                                      Houston, TX 77010
                                                      713−333−5100
                                                      Fax: 713−333−5199
                                                      Email: adiamond@diamondmccarthy.com
                                                      ATTORNEY TO BE NOTICED

                                                     Amos B. Elberg
                                                     Diamond McCarthy, LLP−New York
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                                                     39th Floor
                                                     New York, NY 10018−1443
                                                     212−430−5416
                                                     Fax: 212−430−5499
                                                     Email: aelberg@diamondmccarthy.com
                                                     ATTORNEY TO BE NOTICED

                                                     Reda Marie Hicks
                                                     Diamond McCarthy, LLP−Houston
                                                     909 Fannin Street
                                                     #1500
Case No. 1:09-cv-00799-SJJ-KLM Document 215-1 filed 10/03/11 USDC Colorado pg 3
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                                                     Houston, TX 77010
                                                     713−333−5100
                                                     Fax: 713−333−5195
                                                     Email: rhicks@diamondmccarthy.com
                                                     ATTORNEY TO BE NOTICED

                                                     Steven Robert Kabler
                                                     (See above for address)

                                                     Stuart N. Bennett
                                                     (See above for address)

   Defendant
   Allan G. Provost                    represented by Dennis Boyd Polk
   TERMINATED: 12/29/2009                             Holley, Albertson &Polk, P.C.
                                                      1667 Cole Boulevard
                                                      Building No. 19
                                                      #100
                                                      Lakewood, CO 80401
                                                      303−233−7838
                                                      Fax: 303−233−2860
                                                      Email: DBP@HAPLAW.NET
                                                      ATTORNEY TO BE NOTICED

   Defendant
   Peter M. Cudlip                     represented by Allan Brent Diamond
   TERMINATED: 12/29/2009                             (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                     Amos B. Elberg
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Reda Marie Hicks
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Steven Robert Kabler
                                                     (See above for address)

                                                     Stuart N. Bennett
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

   Interested Party
   Matthew McElhiney

   Interested Party
   Elizabeth A. Starrs

   Counter Claimant
   Alberta Town Center, LLC            represented by Elizabeth Jeanelia Hyatt
   TERMINATED: 02/14/2011                             (See above for address)
                                                      TERMINATED: 10/21/2009

                                                     Elizabeth A. Starrs
                                                     (See above for address)
                                                     TERMINATED: 10/21/2009

                                                     Steven Robert Kabler
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
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                                                                 Stuart N. Bennett
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED


   V.
   Counter Defendant
   Granite Southlands Town Center, LLC            represented by Osborne J. Dykes , III
   TERMINATED: 02/14/2011                                        (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Paul D. Trahan
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Benjamin M. Vetter
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED


    Date Filed     #      Docket Text
    04/08/2009         1 Plaintiff's Original COMPLAINT against Alberta Town Center, LLC, Land Title
                         Guarantee Company ( Filing fee $ 350, Receipt Number 18044) Summons Issued,
                         filed by Granite Southlands Town Center, LLC. (Attachments: # 1 Civil Cover
                         Sheet, # 2 Receipt)(jak, ) (Entered: 04/09/2009)
    04/16/2009         2 ORDER REFERRING CASE to Magistrate Judge Kristen L. Mix by Judge Zita L.
                         Weinshienk on 4/16/09. (gmssl, ) (Entered: 04/17/2009)
    04/17/2009         3 ORDER setting Scheduling Conference for 6/23/2009 11:00 AM in Courtroom
                         C204 before Magistrate Judge Kristen L. Mix by Magistrate Judge Kristen L. Mix
                         on 04/17/09. (Attachments: # 1 Instructions for Preparation of Scheduling
                         Order)(jjh, ) (Entered: 04/17/2009)
    04/21/2009         4 SUMMONS Returned Executed by Granite Southlands Town Center, LLC.
                         Alberta Town Center, LLC served on 4/20/2009, answer due 5/11/2009.
                         (Attachments: # 1 Return of Service)(Dykes, Osborne) (Entered: 04/21/2009)
    04/21/2009         5 SUMMONS Returned Executed by Granite Southlands Town Center, LLC. Land
                         Title Guarantee Company served on 4/20/2009, answer due 5/11/2009.
                         (Attachments: # 1 Return of Service)(Dykes, Osborne) (Entered: 04/21/2009)
    05/07/2009         6 ANSWER to 1 Complaint, by Land Title Guarantee Company.(Bruetsch,
                         Kimberly) (Entered: 05/07/2009)
    05/11/2009         7 Defendant Alberta Town Center, LLC's ANSWER to 1 Complaint, and,
                         COUNTERCLAIM against Granite Southlands Town Center, LLC by Alberta
                         Town Center, LLC.(Starrs, Elizabeth) (Entered: 05/11/2009)
    05/12/2009         8 NOTICE of Entry of Appearance by Elizabeth Jeanelia Hyatt on behalf of Alberta
                         Town Center, LLC (Hyatt, Elizabeth) (Entered: 05/12/2009)
    05/12/2009         9 NOTICE of Entry of Appearance by Elizabeth Jeanelia Hyatt on behalf of Alberta
                         Town Center, LLC (Hyatt, Elizabeth) (Entered: 05/12/2009)
    05/12/2009     10 Docket Annotation re: 8 Notice of Entry of Appearance. Counsel filed this Notice
                      by mistake, and filed the correct document as 9 Notice of Entry of Appearance.
                      Text only entry − no document attached. (ebs, ) (Entered: 05/12/2009)
    05/13/2009     11 CORPORATE DISCLOSURE STATEMENT by Defendant Land Title Guarantee
                      Company.. (Bruetsch, Kimberly) (Entered: 05/13/2009)
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    05/13/2009   12 CORPORATE DISCLOSURE STATEMENT by Plaintiff Granite Southlands
                    Town Center, LLC, Counter Defendant Granite Southlands Town Center, LLC..
                    (Dykes, Osborne) (Entered: 05/13/2009)
    05/14/2009   13 CORPORATE DISCLOSURE STATEMENT by Counter Claimant Alberta Town
                    Center, LLC, Defendant Alberta Town Center, LLC.. (Hyatt, Elizabeth) (Entered:
                    05/14/2009)
    05/29/2009   14 STIPULATION for Extension of Time to Respond to Alberta Town Center, LLC's
                    Counterclaim by Plaintiff Granite Southlands Town Center, LLC, Counter
                    Defendant Granite Southlands Town Center, LLC. (Dykes, Osborne) (Entered:
                    05/29/2009)
    06/02/2009   15 Unopposed MOTION to Reset Scheduling/Planning Conference by Defendant
                    Land Title Guarantee Company. (Attachments: # 1 Proposed Order (PDF
                    Only))(Bruetsch, Kimberly) (Entered: 06/02/2009)
    06/02/2009   16 MEMORANDUM regarding 15 Unopposed MOTION to Reset
                    Scheduling/Planning Conference filed by Land Title Guarantee Company. Motion
                    referred to Magistrate Judge Kristen L. Mix, by Judge Zita L. Weinshienk on
                    6/2/09. TEXT ONLY ENTRY − NO DOCUMENT ATTACHED(ebs, ) (Entered:
                    06/02/2009)
    06/03/2009   17 MINUTE ORDER granting 15 Defendant Land Title Guarantee Co's Unopposed
                    Motion to Reschedule Scheduling/Planning Conference. Scheduling Conference
                    reset for 7/6/2009 11:00 AM in Courtroom C204 before Magistrate Judge Kristen
                    L. Mix, by Magistrate Judge Kristen L. Mix on 6/3/09.(gmssl, ) (Entered:
                    06/04/2009)
    06/12/2009   18 Granite Southlands Town Center LLC's ANSWER/REPLY to 7 Answer to
                    Complaint, Counterclaim of Alberta Town Center, LLC by Granite Southlands
                    Town Center, LLC.(Dykes, Osborne) (Entered: 06/12/2009)
    07/01/2009   19 Proposed Scheduling Order by Plaintiff Granite Southlands Town Center, LLC,
                    Counter Defendant Granite Southlands Town Center, LLC. (Vetter, Benjamin)
                    (Entered: 07/01/2009)
    07/06/2009   20 Minute Entry for proceedings held before Magistrate Judge Kristen L. Mix:
                    Scheduling Conference held on 7/6/2009, Discovery due by 12/10/2009.
                    Dispositive Motions due by 2/16/2010. Final Pretrial Conference set for 7/12/2010
                    09:30 AM before Magistrate Judge Kristen L. Mix. Settlement Conference set for
                    10/20/2009 01:30 PM before Magistrate Judge Kristen L. Mix. (Court Reporter
                    FTR − Kathleen Finney.) (Attachments: # 1 Sedona Principles) (klmcd) (Entered:
                    07/06/2009)
    07/06/2009   21 SCHEDULING ORDER: by Magistrate Judge Kristen L. Mix on 7/6/2009.
                    (klmcd) (Entered: 07/06/2009)
    08/06/2009   22 Unopposed MOTION for Extension of Time to for Joinder of Parties and
                    Amendment of Pleadings by Plaintiff Granite Southlands Town Center, LLC,
                    Counter Defendant Granite Southlands Town Center, LLC. (Attachments: # 1
                    Proposed Order (PDF Only) Granting Unopposed Motion for Extension of Time
                    for Joinder of Parties and Amendment of Pleadings)(Dykes, Osborne) (Entered:
                    08/06/2009)
    08/06/2009   23 MEMORANDUM regarding 22 Unopposed MOTION for Extension of Time to for
                    Joinder of Parties and Amendment of Pleadings filed by Granite Southlands Town
                    Center, LLC. Motion referred to Magistrate Judge Kristen L. Mix, by Judge Zita L.
                    Weinshienk on 8/6/09. TEXT ONLY ENTRY − NO DOCUMENT
                    ATTACHED(ebs, ) (Entered: 08/07/2009)
    08/11/2009   24 MINUTE ORDER granting 22 Plaintiff's Unopposed Motion for Extension of
                    Time for Joinder of Parties and Amendment of Pleadings to 8/21/09, by Magistrate
                    Judge Kristen L. Mix on 8/11/09.(gms, ) (Entered: 08/11/2009)
    08/21/2009   25 Second MOTION for Extension of Time to Join Parties and Amend Pleadings by
                    Plaintiff Granite Southlands Town Center, LLC, Counter Defendant Granite
                    Southlands Town Center, LLC. (Dykes, Osborne) (Entered: 08/21/2009)
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    08/21/2009   26 MEMORANDUM regarding 25 Second MOTION for Extension of Time to Join
                    Parties and Amend Pleadings filed by Granite Southlands Town Center, LLC.
                    Motion referred to Magistrate Judge Kristen L. Mix, by Judge Zita L. Weinshienk
                    on 8/21/09. TEXT ONLY ENTRY − NO DOCUMENT ATTACHED(ebs, )
                    (Entered: 08/21/2009)
    08/21/2009   27 MINUTE ORDER granting 25 Plaintiff's Second Unopposed Motion for Extension
                    of Time for Joinder of Parties and Amendment of Pleadings to 9/4/09, by
                    Magistrate Judge Kristen L. Mix on 8/21/09.(gms, ) (Entered: 08/24/2009)
    09/02/2009   28 Minute Entry for proceedings held before Magistrate Judge Kristen L. Mix:
                    Telephonic Discovery Dispute Hearing held on 9/2/2009. The parties shall confer
                    about inclusion of the following language in paragraphs 2.1 and 5.1a of the
                    proposed Protective Order : Plaintiffs counsel shall immediately disclose in writing
                    to defense counsel the names and contact information of all construction
                    professionals to whom confidential information is disclosed. After conferring, if
                    the terms of the proposed Protective Order remain in dispute, either party may file
                    a motion to address the disputed portions. (FTR − Debra Brown) (kmtcd) (Entered:
                    09/03/2009)
    09/04/2009   29 STRICKEN − AMENDED COMPLAINT against Granite Southlands Town
                    Center, LLC, Land Title Guarantee Company, filed by Granite Southlands Town
                    Center, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                    Exhibit D)(Dykes, Osborne) Modified on 9/8/2009 to indicate stricken pursuant to
                    the order of 9/8/09 (gmssl, ). (Entered: 09/04/2009)
    09/08/2009   30 Docket Annotation re: 29 Amended Complaint. This amended complaint was filed
                    without first obtaining leave of court and the docket entry was made before the new
                    defendants could be added. Counsel has been requested to draft and file a motion to
                    amend the complaint and attach their tendered complaint to the motion. Text only
                    entry − no document attached (gmssl, ) (Entered: 09/08/2009)
    09/08/2009   31 ORDER 29 Plaintiff's First Amended Complaint is stricken, by Judge Zita L.
                    Weinshienk on 9/8/09. (gmssl, ) (Entered: 09/08/2009)
    09/09/2009   32 MOTION for Leave to Amend Complaint 1 and Join Additional Parties by Plaintiff
                    Granite Southlands Town Center, LLC, Counter Defendant Granite Southlands
                    Town Center, LLC. (Attachments: # 1 Exhibit A to Plaintiff's Unopposed Motion
                    for Leave to Amend Complaint and Join Additional Parties)(Dykes, Osborne)
                    Modified on 9/9/2009 to create linkage (gmssl, ). (Entered: 09/09/2009)
    09/16/2009   33 ORDER granting 32 Plaintiff's Unopposed Motion for Leave to Amend Complaint
                    and Join Additional Parties. Plaintiff shall file Plaintiff's First Amended Complaint,
                    attached as Exhibit A to Plaintiff's motion, as a separate document on or before
                    9/29/09, by Judge Zita L. Weinshienk on 9/16/09.(ebs, ) (Entered: 09/16/2009)
    09/16/2009   34 AMENDED COMPLAINT against Alberta Town Center, LLC, Land Title
                    Guarantee Company, filed by Granite Southlands Town Center, LLC.(Dykes,
                    Osborne) (Entered: 09/16/2009)
    09/16/2009   35 Docket Annotation re: 34 Amended Complaint. Counsel has been asked to re−file
                    this document, choosing all Defendants against whom the Amended Complaint is
                    being filed. Text only entry − no document attached. (ebs, ) (Entered: 09/16/2009)
    09/16/2009   36 AMENDED COMPLAINT against Donald G. Provost, Allan G. Provost, Peter M.
                    Cudlip, Alberta Town Center, LLC, Land Title Guarantee Company, filed by
                    Granite Southlands Town Center, LLC.(Dykes, Osborne) (Entered: 09/16/2009)
    09/24/2009   37 NOTICE of Entry of Appearance as Counsel for Defendant Peter M. Cudlip by
                    Stuart N. Bennett on behalf of Peter M. Cudlip (Bennett, Stuart) (Entered:
                    09/24/2009)
    09/25/2009   38 SUMMONS Returned Executed by all plaintiffs. Peter M. Cudlip served on
                    9/17/2009, answer due 10/7/2009. (Attachments: # 1 Return of Service)(Dykes,
                    Osborne) (Entered: 09/25/2009)
    09/25/2009   39 SUMMONS Returned Executed by all plaintiffs. Donald G. Provost served on
                    9/18/2009, answer due 10/8/2009. (Attachments: # 1 Return of Service)(Dykes,
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                     Osborne) (Entered: 09/25/2009)
    09/25/2009   40 SUMMONS Returned Executed by all plaintiffs. Allan G. Provost served on
                    9/18/2009, answer due 10/8/2009. (Attachments: # 1 Return of Service)(Dykes,
                    Osborne) (Entered: 09/25/2009)
    09/25/2009   41 ANSWER to 36 Amended Complaint by Land Title Guarantee
                    Company.(Bruetsch, Kimberly) (Entered: 09/25/2009)
    09/30/2009   42 Unopposed MOTION for Extension of Time to File Answer or Otherwise Respond
                    re 36 Amended Complaint by Defendant Alberta Town Center, LLC.
                    (Attachments: # 1 Proposed Order (PDF Only))(Hyatt, Elizabeth) (Entered:
                    09/30/2009)
    10/01/2009   43 MEMORANDUM regarding 42 Unopposed MOTION for Extension of Time to
                    File Answer or Otherwise Respond re 36 Amended Complaint filed by Alberta
                    Town Center, LLC. Motion referred to Magistrate Judge Kristen L. Mix, by Judge
                    Zita L. Weinshienk on 10/1/09. TEXT ONLY ENTRY − NO DOCUMENT
                    ATTACHED (ebs, ) (Entered: 10/01/2009)
    10/01/2009   44 MINUTE ORDER granting 42 Defendant Alberta Town Center, LLC's Unopposed
                    Motion for Extension of Time to Answer or Otherwise Respond to 36 Amended
                    Complaint. Alberta Town Center, LLC answer due 10/7/2009, by Magistrate Judge
                    Kristen L. Mix on 10/1/09.(gms, ) (Entered: 10/02/2009)
    10/07/2009   45 NOTICE of Entry of Appearance as Counsel for Defendants Donald G. Provost
                    and Alberta Town Center LLC by Stuart N. Bennett on behalf of Donald G.
                    Provost, Alberta Town Center, LLC (Bennett, Stuart) (Entered: 10/07/2009)
    10/07/2009   46 MOTION to Withdraw as Attorney by Counter Claimant Alberta Town Center,
                    LLC, Defendant Alberta Town Center, LLC. (Attachments: # 1 Proposed Order
                    (PDF Only) Order Granting Motion to Withdraw as Counsel of Record for
                    Defendant Alberta Town Center, LLC)(Starrs, Elizabeth) Modified on 10/8/2009 to
                    reactivate motion pursuant to the minute order of 10/8/09 (gmssl, ). (Entered:
                    10/07/2009)
    10/07/2009   47 MOTION for Extension of Time to File Answer or Otherwise Respond re 36
                    Amended Complaint by Defendants Donald G. Provost, Peter M. Cudlip, Alberta
                    Town Center, LLC, Counter Claimant Alberta Town Center, LLC. (Attachments: #
                    1 Proposed Order (PDF Only))(Bennett, Stuart) (Entered: 10/07/2009)
    10/07/2009   48 MEMORANDUM regarding 47 MOTION for Extension of Time to File Answer
                    or Otherwise Respond re 36 Amended Complaint filed by Donald G. Provost,
                    Alberta Town Center, LLC, Peter M. Cudlip. Motion referred to Magistrate Judge
                    Kristen L. Mix, by Judge Zita L. Weinshienk on 10/7/09. TEXT ONLY ENTRY −
                    NO DOCUMENT ATTACHED (ebs, ) (Entered: 10/07/2009)
    10/07/2009   49 MINUTE ORDER granting 46 Notice and Motion to Withdraw as Attorney.
                    Attorney Elizabeth Jeanelia Hyatt and Elizabeth A. Starrs are relieved of any
                    further representation of defendant Alberta Town Center, LLC, by Magistrate
                    Judge Kristen L. Mix on 10/7/09.(gmssl, ) (Entered: 10/07/2009)
    10/08/2009   50 MINUTE ORDER 49 Order on Motion to Withdraw as Attorney is vacated.
                    Motion 46 remains pending and will be ruled on by the District Judge assigned, by
                    Magistrate Judge Kristen L. Mix on 10/8/09. (gmssl, ) (Entered: 10/08/2009)
    10/08/2009   51 MINUTE ORDER granting 47 Defendants Alberta Town Center, Donald Provost
                    and Peter M. Cudlip's Motion for Extension of Time to Answer or Answer or Move
                    re: 36 First Amended Complaint. Donald G. Provost answer due 10/14/2009; Peter
                    M. Cudlip answer due 10/14/2009; Alberta Town Center, LLC answer due
                    10/14/2009, by Magistrate Judge Kristen L. Mix on 10/8/09.(gmssl, ) (Entered:
                    10/08/2009)
    10/08/2009   52 Unopposed MOTION for Extension of Time to File Answer or Otherwise Respond
                    to Complaint 36 by Defendant Allan G. Provost. (Polk, Dennis) Modified on
                    10/9/2009 to create linkage (gms, ). (Entered: 10/08/2009)
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    10/08/2009   53 MEMORANDUM regarding 52 Unopposed MOTION for Extension of Time to
                    File Answer or Otherwise Respond to Complaint filed by Allan G. Provost. Motion
                    referred to Magistrate Judge Kristen L. Mix, by Judge Zita L. Weinshienk on
                    10/8/09. TEXT ONLY ENTRY − NO DOCUMENT ATTACHED (ebs, )
                    (Entered: 10/08/2009)
    10/08/2009   54 MINUTE ORDER granting 52 Defendant Allan Provost's Unopposed Motion for
                    Enlargement of Time to Answer or Otherwise Respond to 36 Amended Complaint.
                    Allan G. Provost answer due 10/16/2009, by Magistrate Judge Kristen L. Mix on
                    10/8/09.(gmssl, ) (Entered: 10/08/2009)
    10/12/2009   55 MOTION to Continue Settlement Conference by Plaintiff Granite Southlands
                    Town Center, LLC, Counter Defendant Granite Southlands Town Center, LLC.
                    (Dykes, Osborne) (Entered: 10/12/2009)
    10/13/2009   56 MEMORANDUM regarding 55 MOTION to Continue Settlement Conference filed
                    by Granite Southlands Town Center, LLC. Motion referred to Magistrate Judge
                    Kristen L. Mix, by Judge Zita L. Weinshienk on 10/13/09. TEXT ONLY ENTRY
                    − NO DOCUMENT ATTACHED (ebs, ) (Entered: 10/13/2009)
    10/13/2009   57 MINUTE ORDER granting 55 Plaintiff's Motion to Continue Settlement
                    Conference. Settlement Conference reset for 1/27/2010 01:30 PM in Courtroom
                    C204 before Magistrate Judge Kristen L. Mix, by Magistrate Judge Kristen L. Mix
                    on 10/13/09.(gms, ) (Entered: 10/14/2009)
    10/14/2009   58 NOTICE of Entry of Appearance by Steven Robert Kabler on behalf of Donald G.
                    Provost, Peter M. Cudlip, Alberta Town Center, LLC (Kabler, Steven) (Entered:
                    10/14/2009)
    10/14/2009   59 DEFENDANT ALBERTA TOWN CENTER, LLC'S ANSWER to 36 Amended
                    Complaint and, COUNTERCLAIM S against Granite Southlands Town Center,
                    LLC by Alberta Town Center, LLC.(Bennett, Stuart) (Entered: 10/14/2009)
    10/14/2009   60 MOTION to Dismiss Pursuant to F.R.C.P 12(b)(6) by Defendants Donald G.
                    Provost, Allan G. Provost, Peter M. Cudlip. (Attachments: # 1 Exhibit 1 Affivdavit
                    of Peter M. Cudlip, # 2 Exhibit 2 Filed Under Seal, # 3 Exhibit 3 Filed Under Seal,
                    # 4 Exhibit 4 Filed Under Seal, # 5 Exhibit 5 Filed Under Seal)(Bennett, Stuart)
                    (Entered: 10/14/2009)
    10/14/2009   61 Unopposed MOTION to Seal by Defendants Donald G. Provost, Peter M. Cudlip.
                    (Attachments: # 1 Exhibit 1 to Motion File Under Seal, # 2 Exhibit 2 to Motion
                    File Under Seal, # 3 Exhibit 3 to Motion File Under Seal, # 4 Exhibit 4 to Motion
                    File Under Seal, # 5 Exhibit 5 to Motion File Under Seal)(Bennett, Stuart)
                    (Entered: 10/14/2009)
    10/14/2009   62 SEALED DOCUMENT by Defendants Donald G. Provost, Peter M. Cudlip.
                    (Attachments: # 1 Exhibit 2 SEALED, # 2 Exhibit 3 SEALED, # 3 Exhibit 4
                    SEALED, # 4 Exhibit 5 SEALED)(Bennett, Stuart) (Entered: 10/14/2009)
    10/14/2009   63 Exhibits 2 through 5 in Support of 60 MOTION to Dismiss Pursuant to F.R.C.P
                    12(b)(6) by Defendants Donald G. Provost, Allan G. Provost, Peter M. Cudlip.
                    (Public entry for Sealed Document 62 , filed 10/14/09) Text only entry − no
                    document attached. (gmssl, ) Modified on 10/16/2009 to correct spelling error
                    (gmssl, ). (Entered: 10/15/2009)
    10/21/2009   64 MINUTE ORDER Setting Hearing on 60 MOTION to Dismiss Pursuant to
                    F.R.C.P 12(b)(6): Motion Hearing set for 1/6/2010 02:00 PM in Courtroom A 801
                    before Judge Zita L. Weinshienk, by Judge Zita L. Weinshienk on 10/21/09. (gms,
                    ) (Entered: 10/21/2009)
    10/21/2009   65 MINUTE ORDER granting 46 Motion to Withdraw as Attorney. Attorney
                    Elizabeth Jeanelia Hyatt and Elizabeth A. Starrs are permitted to withdraw as
                    counsel of record for Alberta Town Center, LLC, by Judge Zita L. Weinshienk on
                    10/21/09.(gms, ) (Entered: 10/21/2009)
    10/23/2009   66 NOTICE OF CASE ASSOCIATION by Counter Defendant Granite Southlands
                    Town Center, LLC, Plaintiff Granite Southlands Town Center, LLC (Dykes,
                    Osborne) (Entered: 10/23/2009)
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    11/03/2009   67 RESPONSE to 60 MOTION to Dismiss Pursuant to F.R.C.P 12(b)(6) MOTION to
                    Dismiss Pursuant to F.R.C.P 12(b)(6) filed by Counter Defendant Granite
                    Southlands Town Center, LLC, Plaintiff Granite Southlands Town Center, LLC.
                    (Attachments: # 1 Exhibit A)(Trahan, Paul) (Entered: 11/03/2009)
    11/03/2009   68 First Amended ANSWER/REPLY to 59 Answer to Amended Complaint,
                    Counterclaim by Granite Southlands Town Center, LLC.(Trahan, Paul) (Entered:
                    11/03/2009)
    11/04/2009   69 ORDER granting 61 Defendant Donald G. Provost And Peter M. Cudlips
                    Unopposed Motion To File Documents Under Seal. Exhibits 2 through 5 to
                    Defendants Peter M. Cudlip, Donald G. Provost And Allan G. Provostss Motion To
                    Dismiss Pursuant To F.R.C.P. 12(b)(6) (Doc. Nos. 62−2, 62−3, 62−4, and 62−5)
                    are sealed. By Judge Zita L. Weinshienk on 11/04/2009.(sah, ) (Entered:
                    11/04/2009)
    11/06/2009   70 MOTION to Reset to Suspend Scheduling Order Deadlines by Counter Defendant
                    Granite Southlands Town Center, LLC, Plaintiff Granite Southlands Town Center,
                    LLC. (Trahan, Paul) (Entered: 11/06/2009)
    11/09/2009   71 MEMORANDUM regarding 70 MOTION to Reset to Suspend Scheduling Order
                    Deadlines filed by Granite Southlands Town Center, LLC.Motions referred to
                    Magistrate Judge Kristen L. Mix by Judge Zita L. Weinshienk on 11/09/09. TEXT
                    ONLY ENTRY − NO DOCUMENT ATTACHED(jjh, ) (Entered: 11/09/2009)
    11/09/2009   72 RESPONSE to 70 MOTION to Reset to Suspend Scheduling Order Deadlines filed
                    by Defendants Donald G. Provost, Peter M. Cudlip, Alberta Town Center, LLC.
                    (Kabler, Steven) (Entered: 11/09/2009)
    11/19/2009   73 REPLY to Response to 60 MOTION to Dismiss Pursuant to F.R.C.P 12(b)(6)
                    MOTION to Dismiss Pursuant to F.R.C.P 12(b)(6) filed by Defendants Donald G.
                    Provost, Allan G. Provost, Peter M. Cudlip. (Bennett, Stuart) (Entered: 11/19/2009)
    11/20/2009   74 MINUTE ORDER granting in part and denying in part 70 Plaintiff and
                    Counter−Defendant Granite Southlands Town Center LLCs Motion to Suspend
                    Scheduling Order Deadlines. The Discovery Deadline in this matter is extended
                    until 01/19/2010. All other deadlines remain as specified in the 07/06/2009
                    Scheduling Order. By Magistrate Judge Kristen L. Mix on 11/20/2009.(sah, )
                    (Entered: 11/23/2009)
    12/02/2009   75 MOTION for Partial Summary Judgment with Recitation of Legal Authority by
                    Defendant Alberta Town Center, LLC. (Attachments: # 1 Exhibit A−1 to MPSJ, #
                    2 Exhibit A−2 to MPSJ, # 3 Exhibit A−3 to MPSJ, # 4 Exhibit A−4 to MPSJ, # 5
                    Proposed Order (PDF Only) Proposed Order to MPSJ)(Bennett, Stuart) Modified
                    on 9/21/2010 to reactivate this motion that was termed in error(sah, ). (Entered:
                    12/02/2009)
    12/09/2009   76 MINUTE ORDER. Defendant Alberta Town Center, LLCs Motion For Partial
                    Summary Judgment 75 is set for hearing on Wednesday, 02/17/2010 at 2:00 p.m. in
                    Courtroom A801. By Judge Zita L. Weinshienk on 12/09/2009. (sah, ) (Entered:
                    12/10/2009)
    12/09/2009   77 MINUTE ORDER. Upon a review of the case file, the Court notes that while the
                    First Amended Complaint 36 states that an Exhibit A is attached thereto, no such
                    exhibit is in fact attached to 36 . Within three days of the date of this Order,
                    Plaintiff shall separately file an Exhibit A, designated as the exhibit referenced in
                    the operative First Amended Complaint, for the benefit of the record. By Judge
                    Zita L. Weinshienk on 12/09/2009. (sah, ) (Entered: 12/10/2009)
    12/10/2009   78 Exhibits in Support of 36 Amended Complaint by Counter Defendant Granite
                    Southlands Town Center, LLC, Plaintiff Granite Southlands Town Center, LLC.
                    (Attachments: # 1 Exhibit A to First Amended Complaint, # 2 Exhibit B to First
                    Amended Complaint, # 3 Exhibit C to First Amended Complaint, # 4 Exhibit D to
                    FIrst Amended Complaint)(Dykes, Osborne) (Entered: 12/10/2009)
    12/21/2009   79 Unopposed MOTION for Protective Order by Counter Defendant Granite
                    Southlands Town Center, LLC, Plaintiff Granite Southlands Town Center, LLC.
                    (Attachments: # 1 Exhibit A (Protective Order))(Dykes, Osborne) (Entered:
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                      12/21/2009)
    12/21/2009    80 Unopposed MOTION for Protective Order by Counter Defendant Granite
                     Southlands Town Center, LLC, Plaintiff Granite Southlands Town Center, LLC.
                     (Attachments: # 1 Exhibit A (Protective Order))(Dykes, Osborne) (Entered:
                     12/21/2009)
    12/21/2009    81 MEMORANDUM regarding 80 Unopposed MOTION for Protective Order filed
                     by Granite Southlands Town Center, LLC, 79 Unopposed MOTION for Protective
                     Order filed by Granite Southlands Town Center, LLC.Motions referred to
                     Magistrate Judge Kristen L. Mix. By Judge Zita L. Weinshienk on 12/21/2009.
                     TEXT ONLY ENTRY − NO DOCUMENT ATTACHED(sah, ) (Entered:
                     12/21/2009)
    12/21/2009    82 MINUTE ORDER granting 80 Unopposed Motion for Protective Order by
                     Magistrate Judge Kristen L. Mix on 12/21/2009.(klmcd) (Entered: 12/22/2009)
    12/21/2009    83 AGREED PROTECTIVE ORDER by Magistrate Judge Kristen L. Mix on
                     12/21/2009. (klmcd) (Entered: 12/22/2009)
    12/23/2009    84 RESPONSE to 75 MOTION for Partial Summary Judgment with Recitation of
                     Legal Authority filed by Counter Defendant Granite Southlands Town Center,
                     LLC, Plaintiff Granite Southlands Town Center, LLC. (Attachments: # 1 Exhibit 1,
                     # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5−1, # 6 Exhibit 5−2, # 7
                     Exhibit 6)(Trahan, Paul) (Entered: 12/23/2009)
    12/29/2009    85 ORDER. Defendants Peter M. Cudlip, Donald G. Provost And Allan G. Provosts
                     Motion To Dismiss Pursuant To F.R.C.P. 12(b)(6) (Motion To Dismiss) 60 is
                     granted. Tclaims for Fraudulent Inducement As To The Release and Actual And
                     Exemplary Damages For Fraud contained in Plaintiffs First Amended Complaint
                     are dismissed with prejudice. The Amended Complaint and cause of action
                     aredismissed with prejudice against Defendants Peter M. Cudlip, Donald G.
                     Provost And Allan G. Provost, and the case caption shall be amended accordingly.
                     This action shall proceed on the remaining claims against the remaining
                     Defendants for Declaratory Judgment Regarding Escrow and Attorneys Fees And
                     Costs Under the Escrow Agreement. The hearing previously set for 01/06/2010 is
                     vacated. By Judge Zita L. Weinshienk on 12/29/2009.(sah, ) (Entered: 12/29/2009)
    01/11/2010    86 REPLY to Response to 75 MOTION for Partial Summary Judgment with
                     Recitation of Legal Authority filed by Defendant Alberta Town Center, LLC.
                     (Attachments: # 1 Exhibit A−5 to Reply re: Motion for PSJ, # 2 Exhibit A−6 to
                     Reply re: Motion for PSJ)(Bennett, Stuart) (Entered: 01/11/2010)
    01/13/2010    87 MOTION for Leave for Reconsideration to Amend Complaint 36 by Plaintiff
                     Granite Southlands Town Center, LLC. (Attachments: # 1 Exhibit Ex 1 Plaintiffs
                     Second Amended Complaint, # 2 Exhibit Ex 1−A to Second Amended Complaint,
                     # 3 Exhibit Ex 1−B to Second Amended Complaint, # 4 Exhibit Ex 1−C to Second
                     Amended Complaint, # 5 Exhibit Ex 2 Motion for Reconsideration, # 6 Exhibit Ex
                     3 Provost depo, # 7 Exhibit Ex 4 Cudlip depo, # 8 Exhibit Ex 5, # 9 Exhibit Ex 6, #
                     10 Exhibit Ex 7, # 11 Exhibit Ex 8, # 12 Exhibit Ex 9, # 13 Exhibit Ex 10, # 14
                     Exhibit Ex 11)(Dykes, Osborne) Modified on 1/14/2010 to create linkage (sah2, ).
                     (Entered: 01/13/2010)
    01/15/2010    88 MOTION for Extension of Time to Extend Discovery Deadline by Defendant
                     Alberta Town Center, LLC. (Attachments: # 1 Exhibit A−1, # 2 Proposed Order
                     (PDF Only) Order re Motion EOT Discovery)(Kabler, Steven) (Entered:
                     01/15/2010)
    01/15/2010    89 MEMORANDUM regarding 88 MOTION for Extension of Time to Extend
                     Discovery Deadline filed by Alberta Town Center, LLC. Motion referred to
                     Magistrate Judge Kristen L. Mix. By Judge Zita L. Weinshienk on 01/15/2010.
                     TEXT ONLY ENTRY − NO DOCUMENT ATTACHED(sah, ) (Entered:
                     01/15/2010)
    01/15/2010    90 MINUTE ORDER granting 88 Defendant Alberta Town Center, LLCs Motion for
                     Limited Extension of Discovery Deadline. Discovery deadline is extended to
                     3/1/2010 for the limited purpose of conducting depositions of Andrew Piekarski,
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                      Christopher Silva, and Jay Alexander. by Magistrate Judge Kristen L. Mix on
                      1/15/2010.(klmcd) (Entered: 01/15/2010)
    01/19/2010    91 Unopposed MOTION for Extension of Time to Extend Discovery Deadline by
                     Counter Defendant Granite Southlands Town Center, LLC, Plaintiff Granite
                     Southlands Town Center, LLC. (Vetter, Benjamin) (Entered: 01/19/2010)
    01/19/2010    92 MEMORANDUM regarding 91 Unopposed MOTION for Extension of Time to
                     Extend Discovery Deadline filed by Granite Southlands Town Center, LLC.Motion
                     referred to Magistrate Judge Kristen L. Mix. By Judge Zita L. Weinshienk on
                     01/19/2010. TEXT ONLY ENTRY − NO DOCUMENT ATTACHED(sah, )
                     (Entered: 01/19/2010)
    01/19/2010    93 MINUTE ORDER. Plaintiffs Motion For Reconsideration And For Leave To
                     Amend Complaint 87 will be decided on the parties briefs without a hearing. By
                     Judge Zita L. Weinshienk on 01/19/2010. (sah, ) (Entered: 01/19/2010)
    01/19/2010    94 Unopposed MOTION for Leave to Be Excused from Attending Settlement
                     Conference 57 by Defendant Land Title Guarantee Company. (Attachments: # 1
                     Proposed Order (PDF Only))(Bruetsch, Kimberly) Modified on 1/20/2010 to create
                     linkage (sah2, ). (Entered: 01/19/2010)
    01/19/2010    95 MEMORANDUM regarding 94 Unopposed MOTION for Leave to Be Excused
                     from Attending Settlement Conference filed by Land Title Guarantee
                     Company.Motion referred to Magistrate Judge Kristen L. Mix. By Judge Zita L.
                     Weinshienk on 01/19/2010. TEXT ONLY ENTRY − NO DOCUMENT
                     ATTACHED(sah, ) (Entered: 01/19/2010)
    01/19/2010    96 MINUTE ORDER. Plaintiffs Unopposed Motion to Extend Discovery Deadline 91
                     is GRANTED. The discovery deadline is extended to 03/01/2010 for the limited
                     purpose of conducting depositions of Steve Zezulak and Joseph Bellio. By
                     Magistrate Judge Kristen L. Mix on 01/19/2010.(sah, ) (Entered: 01/20/2010)
    01/20/2010    97 Unopposed MOTION to Reset 57 Settlement Conference by Defendant Alberta
                     Town Center, LLC. (Attachments: # 1 Proposed Order (PDF Only))(Bennett,
                     Stuart) Modified on 1/21/2010 to create linkage(sah2, ). (Entered: 01/20/2010)
    01/20/2010    98 MEMORANDUM regarding 97 Unopposed MOTION to Reset Settlement
                     Conference filed by Alberta Town Center, LLC.Motions referred to Magistrate
                     Judge Kristen L. Mix. By Judge Zita L. Weinshienk on 01/20/2010. TEXT ONLY
                     ENTRY − NO DOCUMENT ATTACHED(sah, ) (Entered: 01/20/2010)
    01/20/2010    99 MINUTE ORDER granting 94 Unopposed Motion to be Excused from Attending
                     Settlement Conference. Counsel for Land Title shall be available to receive a
                     telephone call from the Court at any time during the scheduled Settlement
                     Conference. By Magistrate Judge Kristen L. Mix on 01/20/2010.(sah, ) (Entered:
                     01/21/2010)
    01/21/2010   100 MINUTE ORDER granting 97 Defendant Alberta Town Center, LLCs Unopposed
                     Motion to Vacate and Reset Settlement Conference. The Settlement Conference set
                     for 01/27/2010 is VACATED AND RESET to 4/20/2010 01:30 PM in Courtroom
                     C204 before Magistrate Judge Kristen L. Mix. By Magistrate Judge Kristen L. Mix
                     on 01/21/2010.(sah, ) (Entered: 01/21/2010)
    01/29/2010   101 RESPONSE to 87 MOTION for Leave to for Reconsideration and for Leave to
                     Amend Complaint filed by Defendant Alberta Town Center, LLC. (Attachments: #
                     1 Exhibit)(Bennett, Stuart) (Entered: 01/29/2010)
    01/29/2010   102 (STRICKEN) MOTION for Leave to File Surreply to Defendant Alberta Town
                     Center, LLC's Response Re: Motion for Partial Summary Judgment by Counter
                     Defendant Granite Southlands Town Center, LLC, Plaintiff Granite Southlands
                     Town Center, LLC. (Attachments: # 1 Exhibit Plaintiff's Surreply to Defendant
                     Alberta Town Center, LLC's Response Re: Motion for Partial Summary
                     Judgment)(Vetter, Benjamin) Modified on 2/1/2010 to STRIKE pursuant to the
                     Minute Order dated 02/01/2010(sah, ). Modified on 2/1/2010 to SEAL pursuant to
                     the Minute Order dated 02/01/2010 (sah, ). (Entered: 01/29/2010)
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    01/29/2010   103 MOTION for Leave to to File Sur−Reply to Defendant Alberta Town Center,
                     LLC's Response Re: Motion for Partial Summary Judgment by Counter Defendant
                     Granite Southlands Town Center, LLC, Plaintiff Granite Southlands Town Center,
                     LLC. (Attachments: # 1 Exhibit Plaintiff's Sur−Reply to Defendant Alberta Town
                     Center, LLC's Response Re: Motion for Partial Summary Judgment)(Vetter,
                     Benjamin) (Entered: 01/29/2010)
    01/29/2010   104 MOTION to Withdraw Document re 102 MOTION for Leave to File Surreply to
                     Defendant Alberta Town Center, LLC's Response Re: Motion for Partial Summary
                     Judgment by Counter Defendant Granite Southlands Town Center, LLC, Plaintiff
                     Granite Southlands Town Center, LLC. (Vetter, Benjamin) (Entered: 01/29/2010)
    02/01/2010   105 MINUTE ORDER. Plaintiffs Motion To Withdraw Document No. 102 104 is
                     granted, and Doc. No. 102 hereby is stricken. Doc. No. 102 in this case hereby is
                     sealed by the Court. Plaintiffs Motion For Leave To File Surreply 103 is granted.
                     Plaintiff shall file its Surreply (Doc. No. 103−2) as a separate document on or
                     before 02/02/2010. By Judge Zita L. Weinshienk on 02/01/2010.(sah, ) (Entered:
                     02/01/2010)
    02/01/2010   106 SURREPLY re 75 MOTION for Partial Summary Judgment with Recitation of
                     Legal Authority filed by Counter Defendant Granite Southlands Town Center,
                     LLC, Plaintiff Granite Southlands Town Center, LLC. (Vetter, Benjamin)
                     (Entered: 02/01/2010)
    02/09/2010   107 ORDER. Defendant Alberta Town Center LLCs Motion For Partial Summary
                     Judgment 75 is denied. The hearing previously set for Wednesday, 02/17/2010 is
                     vacated. By Judge Zita L. Weinshienk on 02/09/2010.(sah, ) (Entered: 02/09/2010)
    02/12/2010   108 REPLY to Response to 87 MOTION for Leave to for Reconsideration and for
                     Leave to Amend Complaint filed by Counter Defendant Granite Southlands Town
                     Center, LLC, Plaintiff Granite Southlands Town Center, LLC. (Attachments: # 1
                     Exhibit 12 to Plaintiffs Reply in Support of Motion for Reconsideration and for
                     Leave to Amend Complaint)(Dykes, Osborne) (Entered: 02/12/2010)
    02/16/2010   109 MOTION for Leave to Substitute Exhibit 1 to Motion for Reconsideration by
                     Counter Defendant Granite Southlands Town Center, LLC, Plaintiff Granite
                     Southlands Town Center, LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Trahan,
                     Paul) (Entered: 02/16/2010)
    02/17/2010   110 ORDER. Plaintiffs Motion For Leave To Substitute Exhibit 1 To MotionFor
                     Reconsideration 109 is granted. Plaintiffs Motion For Reconsideration And For
                     Leave To Amend Complaint 87 is denied. By Judge Zita L. Weinshienk on
                     02/17/2010.(sah, ) (Entered: 02/17/2010)
    04/16/2010   111 MOTION for Leave to Amend Complaint 36 by Counter Defendant Granite
                     Southlands Town Center, LLC, Plaintiff Granite Southlands Town Center, LLC.
                     (Trahan, Paul) Modified on 4/19/2010 to create a linkage (gmssl, ). (Entered:
                     04/16/2010)
    04/19/2010   112 MEMORANDUM regarding 111 MOTION for Leave to Amend Complaint filed
                     by Granite Southlands Town Center, LLC.Motions referred to Magistrate Judge
                     Kristen L. Mix by Judge Zita L. Weinshienk on 04/19/10. TEXT ONLY ENTRY −
                     NO DOCUMENT ATTACHED(jjh, ) (Entered: 04/19/2010)
    04/19/2010   113 MINUTE ORDER denying without prejudice 111 Plaintiffs Motion for Leave to
                     Amend Complaint by Magistrate Judge Kristen L. Mix on 4/19/2010.(klmcd)
                     (Entered: 04/19/2010)
    04/20/2010   114 Minute Entry for proceedings held before Magistrate Judge Kristen L. Mix:
                     Settlement Conference held on 4/20/2010, and no settlement was reached as to any
                     claims in this action. (klmcd) (Entered: 04/21/2010)
    04/28/2010   115 MOTION to Amend/Correct/Modify 34 Amended Complaint by Counter
                     Defendant Granite Southlands Town Center, LLC, Plaintiff Granite Southlands
                     Town Center, LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit A, # 3 Exhibit B, # 4
                     Exhibit C, # 5 Exhibit D)(Trahan, Paul) (Entered: 04/28/2010)
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    04/29/2010   116 MEMORANDUM regarding 115 MOTION to Amend/Correct/Modify 34
                     Amended Complaint MOTION to Amend/Correct/Modify 34 Amended Complaint
                     filed by Granite Southlands Town Center, LLC. Motion referred to Magistrate
                     Judge Kristen L. Mix. By Judge Zita L. Weinshienk on 04/29/2010. TEXT ONLY
                     ENTRY − NO DOCUMENT ATTACHED(sah, ) (Entered: 04/29/2010)
    05/21/2010   117 RESPONSE to 115 MOTION to Amend/Correct/Modify 34 Amended Complaint
                     MOTION to Amend/Correct/Modify 34 Amended Complaint filed by Defendant
                     Alberta Town Center, LLC. (Attachments: # 1 Exhibit A−1, # 2 Exhibit A−2, # 3
                     Exhibit A−3, Part 1, # 4 Exhibit A−3, Part 2, # 5 Exhibit A−3, Part 3, # 6 Exhibit
                     A−3, Part 4, # 7 Exhibit A−3, Part 5, # 8 Exhibit A−3, Part 6, # 9 Exhibit
                     A−4)(Bennett, Stuart) (Entered: 05/21/2010)
    06/04/2010   118 REPLY to Response to 115 MOTION to Amend/Correct/Modify 34 Amended
                     Complaint, filed by Counter Defendant Granite Southlands Town Center, LLC,
                     Plaintiff Granite Southlands Town Center, LLC. (Trahan, Paul) Modified on
                     6/7/2010 to delete duplicate text generated by the system (gmssl, ). (Entered:
                     06/04/2010)
    06/08/2010   119 RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE. It is
                     RECOMMENDED that th 115 Plaintiffs Amended [Fourth] Motion for Leave to
                     Amend Complaint be DENIED. By Magistrate Judge Kristen L. Mix on
                     06/08/2010. (sah, ) (Entered: 06/08/2010)
    06/28/2010   120 ORDER. The Court accepts and adopts the Recommendation 119 in its
                     entirety.Plaintiffs Amended Motion For Leave To Amend Complaint (Motion To
                     Amend) 115 is denied. By Judge Zita L. Weinshienk on 06/28/2010.(sah, )
                     (Entered: 06/28/2010)
    07/06/2010   121 Proposed Pretrial Order by Counter Defendant Granite Southlands Town Center,
                     LLC, Plaintiff Granite Southlands Town Center, LLC. (Attachments: # 1 Exhibit
                     Plaintiff's Witness List, # 2 Exhibit Defendants' Witness List, # 3 Exhibit Plaintiff's
                     Exhibit List, # 4 Exhibit Defendants' Exhibit List)(Vetter, Benjamin) (Entered:
                     07/06/2010)
    07/09/2010   122 MOTION for Leave to Appear by Telephone at Pretrial Conference by Counter
                     Defendant Granite Southlands Town Center, LLC, Plaintiff Granite Southlands
                     Town Center, LLC. (Dykes, Osborne) (Entered: 07/09/2010)
    07/09/2010   123 MEMORANDUM regarding 122 MOTION for Leave to Appear by Telephone at
                     Pretrial Conference filed by Granite Southlands Town Center, LLC.Motion
                     referred to Magistrate Judge Kristen L. Mix. By Judge Zita L. Weinshienk on
                     07/09/2010. TEXT ONLY ENTRY − NO DOCUMENT ATTACHED(sah, )
                     (Entered: 07/09/2010)
    07/09/2010   124 Minute ORDER granting 122 Plaintiff Granite Southlands Town Center LLCs
                     Unopposed Motion for Paul Trahan to Appear by Telephone at the Pretrial
                     Conference, by Magistrate Judge Kristen L. Mix on 7/9/10.(lyg, ) (Entered:
                     07/09/2010)
    07/12/2010   125 Minute Entry for proceedings held before Magistrate Judge Kristen L. Mix: Final
                     Pretrial Conference held on 7/12/2010; The proposed Final Pretrial Order which
                     was submitted to the Court, is approved, with interlineations, and made an order of
                     the Court. A Settlement Conference is set for 9/23/2010 01:30 PM in Courtroom
                     C204 before Magistrate Judge Kristen L. Mix. The defendatns Land Title
                     Guarantee Company need not attend nor provide a Confidential Settlement
                     Statement. All other parties will submit updated Confidential Settlement
                     Statements by 9/16/10. (Court Reporter FTR − Monique Wiles) (klmcd ) (Entered:
                     07/12/2010)
    07/12/2010   126 FINAL PRETRIAL ORDER, by Magistrate Judge Kristen L. Mix on 7/12/10.
                     (klmcd ) (Entered: 07/12/2010)
    07/26/2010   127 ORDER. This case is set for a trial to jury for five days commencing at 10:30 a.m.
                     on 01/17/2011, in Courtroom A801. Counsel shall review the pre−trial order and
                     shall file a short status report with the Court on or before 12/03/2010. All motions
                     in limine shall be filed on or before 11/19/2010. A trial preparation conference
                     before Senior Judge Zita Leeson Weinshienk is hereby set on 12/14/2010, at 2:30
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                       p.m. in Courtroom A801, at which time any pending motions, including motions in
                       limine, will be heard. By Judge Zita L. Weinshienk on 07/26/2010. (sah, )
                       (Entered: 07/26/2010)
    07/27/2010   128 NOTICE of Change of Address of Counsel for Defendant Alberta Town Center
                     LLC, Peter M. Cudlip &Donald G. Provost by Stuart N. Bennett (Bennett, Stuart)
                     (Entered: 07/27/2010)
    08/04/2010   129 NOTICE of Entry of Appearance by Reda Marie Hicks on behalf of Peter M.
                     Cudlip, Donald G. Provost (Hicks, Reda) (Entered: 08/04/2010)
    08/04/2010   130 NOTICE of Entry of Appearance by Allan Brent Diamond on behalf of Peter M.
                     Cudlip, Donald G. Provost (Diamond, Allan) (Entered: 08/04/2010)
    08/05/2010   131 MOTION for Entry of Judgment under Rule 54(b), MOTION for Preliminary
                     Injunction by Defendants Alberta Town Center, LLC, Peter M. Cudlip, Donald G.
                     Provost. (Attachments: # 1 Proposed Order (PDF Only), # 2 Exhibit A, # 3 Exhibit
                     B, # 4 Affidavit Elberg Declaration, # 5 Exhibit A to Elberg Declaration)(Hicks,
                     Reda) (Entered: 08/05/2010)
    08/09/2010   132 MINUTE ORDER. The Expedited Motion For Equitable Relief... 131 will be
                     decided on the parties briefs without a hearing. By Judge Zita L. Weinshienk on
                     08/09/2010. (sah, ) (Entered: 08/09/2010)
    08/12/2010   133 NOTICE OF CASE ASSOCIATION by Counter Defendant Granite Southlands
                     Town Center, LLC, Plaintiff Granite Southlands Town Center, LLC (Dykes,
                     Osborne) (Entered: 08/12/2010)
    08/16/2010   134 RESPONSE to 131 MOTION for Entry of Judgment under Rule 54(b) MOTION
                     for Entry of Judgment under Rule 54(b) MOTION for Preliminary Injunction filed
                     by Plaintiff Granite Southlands Town Center, LLC. (Attachments: # 1 Exhibit
                     Status Report Dated July 26 2010)(Trahan, Paul) (Entered: 08/16/2010)
    08/20/2010   135 REPLY to Response to 131 MOTION for Entry of Judgment under Rule 54(b)
                     MOTION for Entry of Judgment under Rule 54(b) MOTION for Preliminary
                     Injunction filed by Defendants Peter M. Cudlip, Donald G. Provost. (Attachments:
                     # 1 Exhibit)(Hicks, Reda) (Entered: 08/20/2010)
    08/24/2010   136 NOTICE of Entry of Appearance by Amos B. Elberg on behalf of Peter M. Cudlip,
                     Donald G. Provost (Elberg, Amos) (Entered: 08/24/2010)
    08/31/2010   137 NOTICE OF LIEN by Interested Party Matthew McElhiney (McElhiney, Matthew)
                     (Entered: 08/31/2010)
    09/01/2010   138 ORDER. Alberta Defendants Expedited Motion For Equitable Relief ToPrevent
                     Vexatious And Repetitive Litigation Pursuant To The All−Writs Act, 28 U.S.C. §
                     1651(a) And Federal Rule Of Civil Procedure 54(b) 131 is denied in part and
                     granted in part. The motion is denied as to the Alberta Defendants request for
                     equitable relief. The motion is granted as to the Alberta Defendants request for
                     entry of Judgment pursuant to Fed. R. Civ. P. 54(b) in favor of Defendants Donald
                     G. Provost, Allan G. Provost, and Peter M. Cudlip, and a separate Fed. R. Civ. P.
                     54(b) judgment shall be entered. By Judge Zita L. Weinshienk on 09/01/2010.(sah,
                     ) (Entered: 09/02/2010)
    09/02/2010   139 JUDGMENT by Clerk. The claims for Fraudulent Inducement As To The Release
                     and Actual And Exemplary Damages For Fraud contained in Plaintiffs First
                     AmendedComplaint are dismissed with prejudice. The Amended Complaint and
                     cause of action are dismissed with prejudice against Defendants Peter M. Cudlip,
                     Donald G. Provost and Allan G. Provost. The Courts Order of December 29, 2009
                     85 hereby is certified as a final judgment pursuant to Fed. R. Civ. P. 54(b), there
                     being no just reason for delay. Judgment pursuant to Fed. R. Civ. P. 54(b) is
                     entered in favor of Defendants Peter M. Cudlip, Donald G. Provost and Allan G.
                     Provost, and against Plaintiff. Signed on 09/02/2010. (sah, ) (Entered: 09/02/2010)
    09/21/2010   140 Utility Setting/Resetting Deadlines/Hearings: Resetting of deadlines termed in
                     error on 09/02/2010. Status Report due by 12/3/2010. Jury Trial set for 1/17/2011
                     10:30 AM in Courtroom A 801 before Judge Zita L. Weinshienk. Settlement
                     Conference set for 9/23/2010 01:30 PM in Courtroom C204 before Magistrate
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                       Judge Kristen L. Mix. Trial Preparation Conference set for 12/14/2010 at 02:30 PM
                       in Courtroom A 801 before Judge Zita L. Weinshienk. TEXT ONLY ENTRY −
                       NO DOCUMENT ATTACHED (sah, ) Modified on 9/21/2010 to correct the date
                       of the Jury Trial (sah, ). (Entered: 09/21/2010)
    09/21/2010   141 Docket Annotation re: 75 MOTION for Partial Summary Judgment with Recitation
                     of Legal Authority. Entry modified on 9/21/2010 to reactivate this motion that was
                     termed in error. TEXT ONLY ENTRY − NO DOCUMENT ATTACHED (sah, )
                     (Entered: 09/21/2010)
    09/21/2010   142 Utility Setting/Resetting Deadlines/Hearings: Jury Trial set for 1/17/2011 10:30
                     AM in Courtroom A 801 before Judge Zita L. Weinshienk. TEXT ONLY ENTRY
                     − NO DOCUMENT ATTACHED (sah, ) (Entered: 09/21/2010)
    09/22/2010   143 AMENDED ORDER re: 138 Order on Motion for Entry of Judgment under Rule
                     54(b). This Amended Order amends the Court's Order of 09/01/2010 only by
                     correcting a typographical error by deleting footnote 24 appearing therein. By
                     Judge Zita L. Weinshienk on 09/22/2010. (sah, ) (Entered: 09/22/2010)
    09/23/2010   144 Minute Entry for Settlement Conference held before Magistrate Judge Kristen L.
                     Mix on 9/23/2010; A settlement conference was held on this date, and no
                     settlement was reached as to any claims in this action. (klmcd ) (Entered:
                     09/23/2010)
    10/01/2010   145 NOTICE OF APPEAL as to 138 Order on Motion for Entry of Judgment under
                     Rule 54(b), Order on Motion for Entry of Judgment under Rule 54(b), Order on
                     Motion for Entry of Judgment under Rule 54(b), Order on Motion for Preliminary
                     Injunction,, 139 Clerk's Judgment,, by Plaintiff Granite Southlands Town Center,
                     LLC, Counter Defendant Granite Southlands Town Center, LLC (Dykes, Osborne)
                     (Entered: 10/01/2010)
    10/04/2010   146 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal
                     of the 145 Notice of Appeal, filed by Granite Southlands Town Center, LLC to the
                     U.S. Court of Appeals. (Retained counsel; Fee not paid) (Attachments: # 1 Docket
                     Sheet, # 2 Preliminary Record including Notice of Appeal)(bjrsl, ) (Entered:
                     10/04/2010)
    10/04/2010   147 USCA Case Number 10−1453 for 145 Notice of Appeal, filed by Granite
                     Southlands Town Center, LLC. Filing fee due in district court. (bjrsl, ) (Entered:
                     10/04/2010)
    10/04/2010   148 USCA Appeal Fees (USCA Case No. 10−1453); received payment of $455, receipt
                     number 31799 re 145 Notice of Appeal filed by Granite Southlands Town Center,
                     LLC (bjrsl, ) (Entered: 10/04/2010)
    10/19/2010   149 TRANSCRIPT ORDER FORM re 145 Notice of Appeal, by Plaintiff Granite
                     Southlands Town Center, LLC (Trahan, Paul) (Entered: 10/19/2010)
    10/20/2010   151 ORDER. The trial−setting Order of 07/26/2010 127 is VACATED. This case is
                     re−set for a trial to jury for five days commencing at 10:30 a.m. on 02/14/2011, in
                     Courtroom A801. Counsel shall review the pre−trial order and shall file a short
                     status report with the Court on or before 1/10/2011. A trial preparation conference
                     before Senior Judge Zita Leeson Weinshienk is hereby set on 01/18/2011, at 2:30
                     p.m. in Courtroom A801. By Judge Zita L. Weinshienk on 10/20/2010. (sah, )
                     (Entered: 10/21/2010)
    10/21/2010   150 LETTER TO USCA and all counsel certifying the record is complete as to 145
                     Notice of Appeal, filed by Granite Southlands Town Center, LLC. ( Appeal No.
                     10−1453) (bjrsl, ) (Entered: 10/21/2010)
    12/03/2010   152 Stipulated MOTION for Leave to Interplead Funds by Defendant Land Title
                     Guarantee Company. (Attachments: # 1 Proposed Order (PDF Only))(Bruetsch,
                     Kimberly) (Entered: 12/03/2010)
    12/07/2010   153 ORDER. The Stipulated Motion for Leave to Interplead Funds 152 is granted. By
                     Judge Zita L. Weinshienk on 12/07/2010.(sah, ) (Entered: 12/07/2010)
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    12/07/2010   154 TRANSFER ORDER. Case reassigned to Judge Sterling Johnson, Jr for all further
                     proceedings. Judge Zita L. Weinshienk no longer assigned to case. By Chief Judge
                     Wiley Y. Daniel on 12/07/2010. (sah, ) (Entered: 12/07/2010)
    12/09/2010   155 RECEIPT (COX033541) for $653,173.31 by Defendant Land Title Guarantee
                     Company re: 153 Order on Motion for Leave (sah, ) (Entered: 12/09/2010)
    12/16/2010   156 MINUTE ORDER: A Video Conference/Status Conference is set for 12/20/2010 at
                     11:00 AM (1:00 pm, EST) in the 2nd floor Conference Room of the Alfred A.
                     Arraj Courthouse, 901 19th Street, Denver, Colorado before Senior Judge Sterling
                     Johnson Jr. Entered by Senior Judge Sterling Johnson, Jr. on 12/16/10. (TEXT
                     ONLY ENTRY − NO DOCUMENT ATTACHED)(kweck) (Entered: 12/16/2010)
    12/22/2010   157 Minute Entry for proceedings held before Judge Sterling Johnson, Jr: Status
                     Conference held on 12/22/2010. (sah, ) (Entered: 12/27/2010)
    12/28/2010   158 MOTION in Limine by Plaintiff Granite Southlands Town Center, LLC, Counter
                     Defendant Granite Southlands Town Center, LLC. (Attachments: # 1 Proposed
                     Order (PDF Only))(Dykes, Osborne) (Entered: 12/28/2010)
    12/28/2010   159 MOTION in Limine Re: Parol Evidence of Contract Interpretation by Defendant
                     Alberta Town Center, LLC, Counter Claimant Alberta Town Center, LLC.
                     (Attachments: # 1 Proposed Order (PDF Only))(Bennett, Stuart) (Entered:
                     12/28/2010)
    12/28/2010   160 MOTION in Limine Re: Irrelevant Exhibits by Defendant Alberta Town Center,
                     LLC, Counter Claimant Alberta Town Center, LLC. (Attachments: # 1 Proposed
                     Order (PDF Only))(Bennett, Stuart) (Entered: 12/28/2010)
    12/28/2010   161 MOTION in Limine Re: Alleged Construction Defects by Defendant Alberta Town
                     Center, LLC, Counter Claimant Alberta Town Center, LLC. (Attachments: # 1
                     Proposed Order (PDF Only))(Bennett, Stuart) (Entered: 12/28/2010)
    01/04/2011   162 RESPONSE to 158 MOTION in Limine filed by Defendant Alberta Town Center,
                     LLC, Counter Claimant Alberta Town Center, LLC. (Bennett, Stuart) (Entered:
                     01/04/2011)
    01/04/2011   163 RESPONSE to 161 MOTION in Limine Re: Alleged Construction Defects filed by
                     Plaintiff Granite Southlands Town Center, LLC. (Vetter, Benjamin) (Entered:
                     01/04/2011)
    01/04/2011   164 RESPONSE to 160 MOTION in Limine Re: Irrelevant Exhibits filed by Plaintiff
                     Granite Southlands Town Center, LLC. (Vetter, Benjamin) (Entered: 01/04/2011)
    01/04/2011   165 RESPONSE to 159 MOTION in Limine Re: Parol Evidence of Contract
                     Interpretation filed by Plaintiff Granite Southlands Town Center, LLC. (Vetter,
                     Benjamin) (Entered: 01/04/2011)
    01/10/2011   166 STATUS REPORT by Plaintiff Granite Southlands Town Center, LLC. (Vetter,
                     Benjamin) (Entered: 01/10/2011)
    01/14/2011   167 MINUTE ORDER: The Trial Preparation Conference set for 1/18/2011 at 2:30
                     p.m. is VACATED. Entered by Senior Judge Sterling Johnson, Jr. on 1/14/2011.
                     (TEXT ONLY ENTRY − NO DOCUMENT ATTACHED)(kweck) (Entered:
                     01/14/2011)
    01/31/2011   168 Proposed Voir Dire Questions by Plaintiff Granite Southlands Town Center, LLC,
                     Counter Defendant Granite Southlands Town Center, LLC. (Dykes, Osborne)
                     (Entered: 01/31/2011)
    01/31/2011   169 STATEMENT Regarding Damages by Plaintiff Granite Southlands Town Center,
                     LLC, Counter Defendant Granite Southlands Town Center, LLC. (Dykes, Osborne)
                     (Entered: 01/31/2011)
    01/31/2011   170 Proposed Jury Instructions by Plaintiff Granite Southlands Town Center, LLC,
                     Counter Defendant Granite Southlands Town Center, LLC. (Dykes, Osborne)
                     (Entered: 01/31/2011)
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    02/01/2011   171 Proposed Jury Instructions , Statement of Damages &Proposed Voir Dire
                     Questions by Defendant Alberta Town Center, LLC, Counter Claimant Alberta
                     Town Center, LLC. (Attachments: # 1 Exhibit A − Defendant's Proposed Jury
                     Instructions &Verdict Form, # 2 Exhibit B − Defendant's Proposed Voir Dire
                     Questions)(Bennett, Stuart) (Entered: 02/01/2011)
    02/07/2011   172 TRIAL BRIEF by Defendant Alberta Town Center, LLC, Counter Claimant
                     Alberta Town Center, LLC. (Bennett, Stuart) (Entered: 02/07/2011)
    02/09/2011   173 MOTION to Compel Attendance of Jay Alexander at Trial by Defendant Alberta
                     Town Center, LLC, Counter Claimant Alberta Town Center, LLC. (Attachments: #
                     1 Proposed Order (PDF Only))(Bennett, Stuart) (Entered: 02/09/2011)
    02/09/2011   174 Unopposed MOTION to Dismiss Without Prejudice its Counterclaims Against
                     Plaintiff Pursuant to Fed.R.Civ.P. 41 by Defendant Alberta Town Center, LLC,
                     Counter Claimant Alberta Town Center, LLC. (Attachments: # 1 Proposed Order
                     (PDF Only))(Bennett, Stuart) (Entered: 02/09/2011)
    02/11/2011   175 RESPONSE to 173 MOTION to Compel Attendance of Jay Alexander at Trial
                     filed by Plaintiff Granite Southlands Town Center, LLC, Counter Defendant
                     Granite Southlands Town Center, LLC. (Dykes, Osborne) (Entered: 02/11/2011)
    02/11/2011   176 TRIAL BRIEF by Plaintiff Granite Southlands Town Center, LLC, Counter
                     Defendant Granite Southlands Town Center, LLC. (Attachments: # 1 Exhibit Form
                     of Estoppel Certificate, # 2 Exhibit 2009 Colorado Cinema Estoppel Certificate, #
                     3 Exhibit 2008 Colorado Cinema Estoppel Certificate)(Dykes, Osborne) (Entered:
                     02/11/2011)
    02/14/2011   177 OBJECTIONS to Alberta Town Center, LLCs Recently Disclosed Exhibit List by
                     Plaintiff Granite Southlands Town Center, LLC, Counter Defendant Granite
                     Southlands Town Center, LLC. (Dykes, Osborne) (Entered: 02/14/2011)
    02/14/2011   178 OBJECTIONS to and Cross−Designations for Andrew Piekarski Depostion by
                     Plaintiff Granite Southlands Town Center, LLC. (Attachments: # 1 Exhibit)(Dykes,
                     Osborne) (Entered: 02/14/2011)
    02/14/2011   180 ORDER. Defendant Alberta Town Center, LLC's Unopposed Motion Pursuant to
                     Fed. R. Civ. P. 41 to Dismiss without Prejudice Its Counterclaims against Plaintiff
                     174 is GRANTED. By Judge Sterling Johnson, Jr on 2/14/2011.(sah, ) (Entered:
                     02/15/2011)
    02/14/2011   183 Minute Entry for Bench Trial proceedings held before Judge Sterling Johnson, Jr
                     completed on 2/14/2011. ORDERED: Counsel shall file objections to and
                     designations. ORDERED: Counsel shall file findings of fact and conclusions of
                     law by 4/15/11. (Court Reporter: Adrienne Whitlow)(babia) (Entered: 02/16/2011)
    02/15/2011   179 Exhibits in Support Additional Exhibits Admitted at Trial by Plaintiff Granite
                     Southlands Town Center, LLC, Counter Defendant Granite Southlands Town
                     Center, LLC. (Dykes, Osborne) (Entered: 02/15/2011)
    02/15/2011   181 Exhibits in Support by Defendant Alberta Town Center, LLC, Counter Claimant
                     Alberta Town Center, LLC. (Attachments: # 1 Exhibit − Defendant's Exhibit R
                     admitted at trial)(Bennett, Stuart) (Entered: 02/15/2011)
    02/16/2011   182 OBJECTIONS to Alberta Town Center, LLC's Recently Disclosed Exhibit List by
                     Plaintiff Granite Southlands Town Center, LLC, Counter Defendant Granite
                     Southlands Town Center, LLC. (Dykes, Osborne) (Entered: 02/16/2011)
    02/16/2011   184 DESIGNATION OF DEPOSITION TESTIMONY by Defendant Alberta Town
                     Center, LLC, Counter Claimant Alberta Town Center, LLC. (Attachments: # 1
                     Exhibit A − Transcript of Andrew Piekarski, # 2 Exhibit B − Transcript of Jay
                     Alexander)(Bennett, Stuart) (Entered: 02/16/2011)
    02/17/2011   185 DESIGNATION OF DEPOSITION TESTIMONY AND OBJECTIONS FOR JAY
                     ALEXANDER DEPOSITION by Plaintiff Granite Southlands Town Center, LLC.
                     (Trahan, Paul) (Entered: 02/17/2011)
    02/17/2011   186 MOTION for Leave to FILE BRIEF CLOSING by Plaintiff Granite Southlands
                     Town Center, LLC. (Attachments: # 1 Proposed Document Plaintiff Granite
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                       Southlands Town Center LLC's Brief Closing)(Trahan, Paul) (Entered:
                       02/17/2011)
    02/21/2011   187 Exhibits in Support (Additional Exhibit Admitted at Trial) by Plaintiff Granite
                     Southlands Town Center, LLC, Counter Defendant Granite Southlands Town
                     Center, LLC. (Dykes, Osborne) (Entered: 02/21/2011)
    04/02/2011   188 TRANSCRIPT of Trial to Court held on 2−14−11 before Judge Johnson. Pages:
                     1−249. Prepared by: Adrienne Whitlow.
                     NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                     this filing, each party shall inform the Court, by filing a Notice of Intent to
                     Redact, of the party's intent to redact personal identifiers from the electronic
                     transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                     within the allotted time, this transcript will be made electronically available
                     after 90 days. Please see the Notice of Electronic Availability of Transcripts
                     document at www.cod.uscourts.gov.
                     Transcript may only be viewed at the court public terminal or purchased through
                     the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting
                     on PACER. Release of Transcript Restriction set for 7/5/2011. (Whitlow,
                     Adrienne) (Entered: 04/02/2011)
    04/15/2011   189 Proposed Findings of Fact and Conclusions of Law by Plaintiff Granite Southlands
                     Town Center, LLC. (Trahan, Paul) (Entered: 04/15/2011)
    04/15/2011   190 Proposed Findings of Fact and Conclusions of Law by Defendant Alberta Town
                     Center, LLC, Counter Claimant Alberta Town Center, LLC. (Bennett, Stuart)
                     (Entered: 04/15/2011)
    04/28/2011   191 Proposed Findings of Fact by Defendant Alberta Town Center, LLC, Counter
                     Claimant Alberta Town Center, LLC. (Attachments: # 1 Exhibit 1 (Supplemental
                     Authority))(Bennett, Stuart) (Entered: 04/28/2011)
    05/02/2011   192 RESPONSE to 191 Proposed Findings of Fact by Plaintiff Granite Southlands
                     Town Center, LLC. (Dykes, Osborne) (Entered: 05/02/2011)
    05/09/2011   193 NOTICE OF CHARGING LIEN by Interested Party Elizabeth A. Starrs (Starrs,
                     Elizabeth) (Entered: 05/09/2011)
    05/09/2011   194 Proposed Findings of Fact 190 Reply in Support of its Supplemental Authority by
                     Defendant Alberta Town Center, LLC, Counter Claimant Alberta Town Center,
                     LLC. (Bennett, Stuart) Modified on 5/10/2011 to create linkage(sah, ). (Entered:
                     05/09/2011)
    09/02/2011   195 MEMORANDUM AND ORDER. Based on the foregoing, the Court finds in favor
                     of Granite on its breach of contract claim. Accordingly, it is ORDERED that the
                     Clerk of Court shall enter judgment in favor of Plaintiff Granite Southlands Center,
                     LLC and against Defendant Alberta Town Center, LLC. This ruling makes it
                     unnecessary to discuss any other issues raised by the parties. By Judge Sterling
                     Johnson, Jr on 9/2/2011. (sah, ) (Main Document 195 replaced on 9/6/2011)
                     (gmssl, ). Modified on 9/6/2011 to attach a pdf with an electronic signature by the
                     judicial officer(gmssl, ). (Entered: 09/02/2011)
    09/06/2011   196 Docket Annotation re: 195 Memorandum &Opinion. This docket entry was
                     modified to attach a pdf with an electronic signature by the judicial officer. TEXT
                     ONLY ENTRY − NO DOCUMENT ATTACHED (gmssl, ) (Entered: 09/06/2011)
    09/13/2011   197 ADDENDUM re: 195 MEMORANDUM AND ORDER. By Judge Sterling
                     Johnson, Jr on 9/13/2011. (sah, ) (Entered: 09/13/2011)
    09/13/2011   198 FINAL JUDGMENT is hereby entered in favor of Plaintiff Granite Southlands
                     Center, LLC on its breach of contract claim and against Defendant AlbertaTown
                     Center, LLC. By Clerk on 9/13/2011. (sah, ) (Entered: 09/13/2011)
    09/19/2011   199 MOTION for Attorney Fees by Plaintiff Granite Southlands Town Center, LLC.
                     (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit A.1, # 3 Exhibit Exhibit
                     A.2, # 4 Exhibit Exhibit A.3, # 5 Exhibit Exhibit A.4, # 6 Exhibit Exhibit A.5, # 7
                     Exhibit Exhibit A.6, # 8 Exhibit Exhibit A.7, # 9 Exhibit Exhibit A.8, # 10 Exhibit
                     Exhibit A.9, # 11 Exhibit Exhibit A.10, # 12 Exhibit Exhibit A.11, # 13 Exhibit
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                       Exhibit A.12, # 14 Exhibit Exhibit A.13, # 15 Exhibit Exhibit A.14, # 16 Exhibit
                       Exhibit A.15, # 17 Exhibit Exhibit A.16, # 18 Exhibit Exhibit A.17, # 19 Affidavit
                       Exhibit B, # 20 Exhibit Addendum B−1, # 21 Exhibit Addendum B−2, # 22
                       Exhibit Addendum B−3, # 23 Exhibit Addendum B−4, # 24 Exhibit Addendum
                       B−5, # 25 Affidavit Exhibit C, # 26 Exhibit Addendum C−1, # 27 Exhibit
                       Addendum C−2, # 28 Exhibit Exhibit D)(Trahan, Paul) (Entered: 09/19/2011)
    09/20/2011   200 ERRATA re 199 MOTION for Attorney Fees and Expenses by Plaintiff Granite
                     Southlands Town Center, LLC. (Attachments: # 1 Exhibit A.15)(Trahan, Paul)
                     (Entered: 09/20/2011)
    09/20/2011   201 MOTION for Temporary Restraining Order by Plaintiff Granite Southlands Town
                     Center, LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                     4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Appendix Appendix I, # 8 Proposed Order (PDF
                     Only) Order)(Trahan, Paul) (Entered: 09/20/2011)
    09/21/2011   202 MEMORANDUM regarding 199 MOTION for Attorney Fees filed by Granite
                     Southlands Town Center, LLC. Motions referred to Magistrate Judge Kristen L.
                     Mix. By Judge Sterling Johnson, Jr on 9/21/2011. TEXT ONLY ENTRY − NO
                     DOCUMENT ATTACHED(sah, ) (Entered: 09/21/2011)
    09/22/2011   203 TEMPORARY RESTRAINING ORDER AGAINST DEFENDANT ALBERTA.
                     Upon the filing of such Bond or Cash in Lieu of Bond by Plaintiff, the Clerk of this
                     Court shall issue citation and notice to Defendant of the Temporary Restraining
                     Order and a Preliminary Injunction Hearing, said hearing being set by the Court for
                     9/28/2011, at 1:00pm EST. By Judge Sterling Johnson, Jr on 9/22/2011. (sah, )
                     (Entered: 09/22/2011)
    09/23/2011   204 MOTION to Expedite DISCOVERY FOR PRELIMINARY INJUNCTION
                     HEARING by Plaintiff Granite Southlands Town Center, LLC. (Attachments: # 1
                     EXHIBIT A, # 2 EXHIBIT B, # 3 EXHIBIT C, # 4 PROPOSED ORDER)(Trahan,
                     Paul) (Entered: 09/23/2011)
    09/23/2011   205 MINUTE ORDER re: 203 Temporary Restraining Order. The Hearing re:
                     Preliminary Injunction set for September 28, 2011 at 1:00 pm EST shall be
                     conducted in courtroom A801 of the Alfred A. Arraj Courthouse, 901 19th Street,
                     Denver, CO. Entered by Judge Sterling Johnson, Jr on 9/23/11. (TEXT ONLY
                     ENTRY − NO DOCUMENT ATTACHED)(kweck, ) (Entered: 09/23/2011)
    09/23/2011         ORDER granting 204 Plaintiff's Granite its Motion to Expedite Discovery for
                       Preliminary Injunction Hearing by Judge Sterling Johnson, Jr. on 9/23/2011. The
                       Parties should also note that the Preliminary Injunction Hearing has been
                       rescheduled for Thursday, 3PM EST. TEXT ONLY ENTRY − NO DOCUMENT
                       ATTACHED (Vincent, Dana) (Entered: 09/23/2011)
    09/23/2011   206 TEMPORARY RESTRAINING ORDER AGAINST DEFENDANT ALBERTA.
                     (Modifies and Replaces the Court's Previous Order ECF 203 Temporary
                     Restraining Order. Temporary Restraining Order is effective upon the filing of a
                     bond or cash in lieu of bond. In Court Hearing set for 9/29/2012 at 03:00 PM
                     before Judge Sterling Johnson Jr, by Judge Sterling Johnson, Jr on 9/23/11. (gmssl,
                     ) (Entered: 09/23/2011)
    09/26/2011   207 CASH IN LIEU OF BOND FOR TEMPORARY RESTRAINING ORDER by
                     Plaintiff Granite Southlands Town Center, LLC (sah, ) (Entered: 09/27/2011)
    09/26/2011   208 RECEIPT for $10,000.00 by Plaintiff Granite Southlands Town Center, LLC re:
                     206 Order, (sah, ) (Entered: 09/27/2011)
    09/27/2011   209 AFFIDAVIT/RETURN of Service of Temporary Restraining Order upon Alberta
                     Town Center, LLC on 09/26/2011, filed by Plaintiff Granite Southlands Town
                     Center, LLC (Vetter, Benjamin) (Entered: 09/27/2011)
    09/27/2011   210 MOTION for Attorney Fees and Costs by Defendant Land Title Guarantee
                     Company. (Attachments: # 1 Exhibit A − Escrow Agreement, # 2 Exhibit B −
                     Affidavit, # 3 Exhibit C− fees, # 4 Exhibit D − bios)(Bruetsch, Kimberly) (Entered:
                     09/27/2011)
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    09/27/2011   211 Proposed Bill of Costs with letter to Clerk of the Court by Plaintiff Granite
                     Southlands Town Center, LLC. (Attachments: # 1 Bill of Costs)(Trahan, Paul)
                     (Entered: 09/27/2011)
    09/28/2011   212 The Preliminary Injunction Hearing set for 10/4/2011 at 10:00 AM (12:00 PM
                     EST) shall be held in Courtroom A801 of the Alfred A. Arraj Courthouse, 901 19th
                     Street, Denver, CO, 80294 before Judge Sterling Johnson Jr. (TEXT ONLY
                     ENTRY − NO DOCUMENT ATTACHED)(kweck, ) (Entered: 09/28/2011)
    09/30/2011   213 OBJECTIONS to 201 MOTION for Temporary Restraining Order and Preliminary
                     Injunction by Defendant Alberta Town Center, LLC. (Attachments: # 1 Exhibit, #
                     2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Bennett, Stuart) (Entered: 09/30/2011)
    09/30/2011   214 NOTICE OF APPEAL as to 197 Order, 198 Clerk's Judgment, 195 Memorandum
                     &Opinion,, by Defendant Alberta Town Center, LLC (Bennett, Stuart) (Entered:
                     09/30/2011)
